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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

                       CASE NO: 8-22-CV-00343-MSS-SPF

VALERIE FLYNN,                             )
                                           )
                      Plaintiff,           )
                                           )
     vs.                                   )
                                           )
CABLE NEWS NETWORK, INC.                   )
                                           )
                      Defendant.           )
                                           )
                                           )
                                           )


     DECLARATION OF KATHERINE M. BOLGER IN SUPPORT OF
  DEFENDANT CABLE NEWS NETWORK, INC.’S MOTION TO DISMISS

I, Katherine M. Bolger, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1.     I am a partner at the law firm of Davis Wright Tremaine LLP,

attorneys for Defendant Cable News Network (“CNN” or “Defendant”) in the

above-captioned matter.

      2.     I submit this declaration to annex documents relevant to the

Defendant’s motion to dismiss Plaintiff’s Complaint in this action.

      3.     Annexed hereto as Exhibit 1 is a true and correct copy of an archived

tweet from user @GenFlynn, posted on or around July 4, 2020, containing a video of

Plaintiff engaging in the “#TakeTheOath” Twitter movement. @GenFlynn is the

account of Plaintiff’s brother-in-law, General Michael Flynn. This archived tweet is



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available at:

https://web.archive.org/web/20200708231841/https:/twitter.com/GenFlynn/statu

s/1279590652200849409.

       4.       Annexed hereto as Exhibit 2 is a true and correct copy of the cached

version of an article titled Michael Flynn recites oath of office using slogan associated with

QAnon, The Washington Examiner (July 5, 2020), which is referenced by Plaintiff in

her Complaint. Compl. ¶ 3 n.1. This article is available at:

http://webcache.googleusercontent.com/search?q=cache:H0FeVEWd2fcJ:https://

www.washingtonexaminer.com/news/michael-flynn-recites-oath-of-office-using-

slogan-associated-with-qanon&hl=en&gl=us&strip=0&vwsrc=0.

       5.       Annexed hereto as Exhibit 3 is a true and correct copy of an article

titled What Is QAnon? What We Know About the Conspiracy-Theory Group, The Wall

Street Journal (February 4, 2021), which is referenced by Plaintiff in her Complaint.

Compl. ¶ 1. This article is available at: https://www.wsj.com/articles/what-is-

qanon-what-we-know-about-the-conspiracy-theory-

11597694801?mod=article_inline.

       6.       Annexed hereto as Exhibit 4 is a true and correct copy of screenshots

from the CNN telecast attached as Exhibit 5.

       7.       Annexed hereto as Exhibit 5 is a true and correct copy of a CNN

telecast titled “CNN Goes Inside A Gathering Of QAnon Followers,” which aired




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on February 3, 2021 as part of the news program Don Lemon Tonight. A portion of

this telecast forms the basis of Plaintiffs’ claims.

       8.     Annexed hereto as Exhibit 6 is a true and correct copy of the Amended

Complaint filed in John P. “Jack” Flynn and Leslie A. Flynn v. Cable News Network, Inc.,

No. 1:21-cv-02587 (S.D.N.Y. filed May 7, 2021).

       9.     Annexed hereto as Exhibit 7 is a true and correct copy of the Motion to

Dismiss and accompanying Memorandum of Law filed by Defendant Cable News

Network, Inc. in John P. “Jack” Flynn and Leslie A. Flynn v. Cable News Network, Inc.,

No. 1:21-cv-02587 (S.D.N.Y. filed June 21, 2021).

       10.    Annexed hereto as Exhibit 8 is a true and correct copy of the Motion

for Partial Reconsideration filed by Defendant Cable News Network, Inc. in John P.

“Jack” Flynn and Leslie A. Flynn v. Cable News Network, Inc., No. 1:21-cv-02587

(S.D.N.Y. filed December 30, 2021).

       11.    Annexed hereto as Exhibit 9 is a true and correct copy of an article

titled ‘Are you QAnon?’: One Trump official’s brush with an internet cult gone horribly

wrong, Politico (January 19, 2021), which is referenced by Plaintiff in her Complaint.

Compl. ¶ 22 n.5. This article is available at:

https://www.politico.com/news/2021/01/19/qanon-trump-ezra-cohen-watnick-

460520.

        12.    Annexed hereto as Exhibit 10 is a true and correct copy of a transcript

of a “CNN Special” titled The Cult of QAnon, which aired on February 26, 2021 and


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is referenced by Plaintiff in her Complaint. Compl. ¶ 15. This transcript is available

at:

http://transcripts.cnn.com/TRANSCRIPTS/2102/26/csr.01.html.

       13.    Annexed hereto as Exhibit 11 is a true and correct copy of a transcript

of a “CNN Special Report” titled Inside The QAnon Conspiracy, which aired on

January 31, 2021 and is referenced by Plaintiff in her Complaint. Compl. ¶ 2. This

transcript is available at:

https://transcripts.cnn.com/show/csr/date/2021-01-31/segment/02.

       14.    Annexed hereto as Exhibit 12 is a true and correct copy of an article

titled QAnon’s corrosive impact on the U.S.., CBS News (Feb. 22, 2021), which is

referenced by Plaintiff in her Complaint. Compl. ¶ 1. This article is available at:

https://www.cbsnews.com/news/qanon-conspiracy-united-states-60-minutes-2021-

02-21/.

       15.    Annexed hereto as Exhibit 13 is a true and correct copy of House

Resolution 1094 (August 25, 2020), which is referenced by Plaintiff in her

Complaint. Am. Compl. ¶ 20 n.4. This Resolution is available at:

https://www.congress.gov/116/bills/hres1094/BILLS-116hres1094ih.pdf.

       I declare under penalty of perjury that the foregoing is true and correct.


Executed on:         March 7, 2022

                                          /s/ Katherine M. Bolger
                                          KATHERINE M. BOLGER



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